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'?%A0 2458    (Rev. 06105) Judgment in a Criminal Case             #470
              Sheet 1




                       SOUTHERN                                  District of                                        ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                  TERWIN L. MORGAN                                       Case Number:             4:07CR40006-005-JPG

                                                                         USM Number:              07332-025

                                                                          Michael S. Ghidina
                                                                         Defendant's Attorney
THE DEFENDANT:
upleaded guilty to count(s)           1, 7, 8 and 9 of the Superseding Indictment

  pleaded nolo contendere to count(s)
  which was accepted by the court.
  was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Sature of Offense                                                             Ollense Ended            ('ount
 21 U.S.C. 846                      Conspiracy to distribute 8 Possess With Intent to Distribute                  3/7/2007                    Is
                                    in Excess of 50 Grams of Cocaine Base
 21 U.S.C. 841(a)(l)                Distribution of Less than 5 Grams of Cocaine Base                             9120t2006                   7s,8s & 9s

       The defendant is sentenced as provided in pages 2 through             10            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Unjted States attomey for this distrjct within 30 da s of any change ofname, residence,
or mailing address unt~lallfines, restltutlon,costs, and specla1assessments lmposed by t h ~judgment
                                                                                              s          are
the defendant must not~fythe court and Un~tedStates attorney of mater~alchanges ln econonnc circumstances.
                                                                                                                  dy
                                                                                                                 paid. If ordered to pay restltutlon,

                                                                          11/29/2007
                                                                         Date of lmoosition of J u d m e n t




                                                                          J. Phil Gilbert                                    District Judge
                                                                         Name of Judge                                   Title of Judge
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              Sheet 2 - lrnprlsonment
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DEFENDANT: TERWIN L. MORGAN
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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

  60 months on Counts 1. 7, 8 & 9 of the Superseding Indictment. All counts to run concurrent with each other.




           The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



  $I       The defendant is remanded to the custody of the United States Marshal

           The defendant shall surrender to the United States Marshal for this district:
                at                                     a.m.          p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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              Sheet 3 S u p e r v i s e d Release
                                                                                                                Judgment-Page        3     of       in
DEFENDANT: TERWIN L. MORGAN
CASE NUMBER: 4:07CR40006-005-JPG
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 4 years. (4 years on Count I s and 3 years on Counts 7s, 8s and 9s). All counts to run concurrent with each other.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pr~sons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation offlcer at least ten days prior to any change in residence or employment;
   7)      tllc ilcfcmlant chall rrfrain from cxcr>>ivruse o f a l c ~ ~ ham1
                                                                          c ~ l ~h.ill nut purchase, po.sc,., we. tlictr~hluc,or a(lm~nistcr.in).
           controlled substance or any p3rapl1eroalta related to 3ny .w~~trolled       suhstancei. except 3s p~es;r~bc.Jby a pliyi~;~an;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permlsslon to do so by the pro%ationofficer;
  10)      the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plaln vtew of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  II       ah dlrcctcd by the robarton ofriccr. thc detkndanr shall notiiy thtrd parties of r~sksrhat may he occasioned hy the defend an^', cr~m~nal
           record or pcr.;onay li~stor)or ch~racter~st~cs and sl~allpennlt the probation officer to m k c s t ~ i not~ti~atlon,
                                                                                                                   l~           and to ionfirm the
           (lcfendant s compltancc \! 1111such not~ticat~onrcqutrcmcnt.
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            Case
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           Sheet 3C - Supervised Release                        #473
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account, however, if the account balance is less than $20.00, o payment shall be
 required. The Court finds that the defendant does not have the ability to pay interest and it is waived. The costs of
 imprisonment and supervision are also waived.

 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of Supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

  X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
  immidiately  notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence andlor participation in a residential treatment facility. Any
 participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

   €4 Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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           Sheet 5 -Criminal Monetary Penalties               #474
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                           -
                                                                           Fine                                  Restitution
 TOTALS           $ 400.00                                              $ 250.00                               $ 0.00



     The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
     the prlorlty order or percentage payment columnielow. However, pursuant to 18 LfS.8. 5 3664{), all nonfederal victlms must be paid
     before the United States is pad.

 Sanie of Payee                                                                                   Krslituliot~Ordered      Priority or Percentate




 TOTALS                                                         0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 81 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @f the interest requirement is waived for the        I$     fine          restitution.
           the interest requirement for the         fine               restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Aprll 23, 199%.
A 0 2458
              Case
           (Rev.         4:07-cr-40006-JPG
                 06105) Judgment      in a Criminal Case        Document 174 Filed 12/06/07            Page 6 of 6              Page ID
           Sheet 6 S c h e d u l e of Payments                            #475
                                                                                                         J u d g m e n t Page    6   of      10
DEFENDANT: TERWIN L. MORGAN
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                                                                SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @ Lump sum payment of $                                         due immediately, balance due

                  not later than                                         , 01
                  in accordance                  C,        IJ    D,        E, or   @fF below; or

 B         Payment to begin immediately (may be combined with                      C,         D, or   F below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            While on s u p e ~ i s e drelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater toward his fine.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ent of criminal monetary penalties is due durin
 i m p r i s o ~ n t . All crlminarmoneta penalties, except those payments made througK t c ~ e d e r a Bureau
                                                                                                        l      of Prlsons' Inmate ~ m a n c l 8
 Respons~b~hty      Program are made to g e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed,



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                                 1.
 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) pena tles, and (8) costs, including cost of prosecution and court costs.
